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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Sharpe Innovations, Inc.
                                    Plaintiff,
v.                                                     Case No.: 1:17−cv−05460
                                                       Honorable Virginia M. Kendall
KDDI America, Inc., et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 6, 2018:


         MINUTE entry before the Honorable Virginia M. Kendall. Defendant Tracfone
moved for a stay pending inter partes review of two patents in these consolidated cases.
(Dkt. No. [31]) The petitions for review, requested by two defendants in unrelated patent
litigation involving the Plaintiffs but who are not parties to the cases before this Court, are
pending before the Patent Trial and Appeal Board, and a decision on whether they will
review the patents is expected in early June 2018. See 35 U.S.C. §§ 311(a)−(c). Similar to
§ 18(b)(1) of the America Invents Act, district courts have the authority to stay litigation
pending inter parties review where they find that a stay will not unduly prejudice or
tactically disadvantage the non−moving party; will simplify the issues in question and
streamline the trial; and will reduce the burden of litigation on the parties and on the
Court. See, e.g., T−Rex Property AB v. Adaptive Micro Systems, LLC, 2017 WL 372311,
1 (N.D. Ill. 2017) (Kendall, J.). On March 1, 2018, the Court granted the motion for a stay
pending inter partes review in open Court. (Dkt. No. [47]) The Court grants Defendant's
stay [31] because: (1) the Plaintiffs delay of over four years prior to filing this
patent−infringement action, when coupled with the sparse litigation activity thus far in the
case, weighs in favor of a stay because it will not unduly prejudice the Plaintiff; (2) the
decision to review the two patents at issue and the subsequent conclusions by the PTAB
will potentially simplify the issues involved in the underlying matter and also will
streamline the trial by possibly removing numerous claims and thus weighs in favor of
granting the stay; (3) that there has currently been very little discovery or litigation and
that the Court has yet to affix a discovery schedule or set a trial date are considerations
that also weigh in favor of granting a stay; and finally (4) although not binding, the sister
court's recent granting of a stay in these matters suggests that a stay is appropriate here.
See Sharpe Innovations, Inc. v. T−Mobile USA, Inc., 17 C 351, 17 C 412 (E.D. Va. Jan.
10 2018) (Doumar, J.) (Dkt. No. [41]). The Parties shall submit status reports and position
papers by June 5, 2018 regarding the PTAB decision to review the patents at issue. Mailed
notice(lk, )
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